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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

                D.N.J. LBR 2016-1, FEE APPLICATION COVER SHEET

   IN RE: BAV AUTO, L.L.C.                        APPLICANT:           THE    LAW
                                                  OFFICES   OF         STEVEN   D.
                                                  PERTUZ, LLC

   CASE NO.: 22-17933/22-18303
         JOINT ADMINISTRATION                     CLIENT: DEBTOR

   CHAPTER: 11, SUBCHAPTER V                      CASE FILED: 10/6/22


      COMPLETION AND SIGNING OF THIS FORM CONSTITUTES A CERTIFICATION
        UNDER PENALTY OF PERJURY, PURSUANT TO 28 U.S.C. SECTION 1746.


                              RETENTION ORDERS ATTACHED


                                       SECTION I
                                     FEE SUMMARY

   FEE APPLICATION NO. 1 OR FINAL FEE APPLICATION
                                             FEES             EXPENSES
   TOTAL PREVIOUS FEE REQUESTED:             $                $
   TOTAL FEES ALLOWED TO DATE:               $                $
   TOTAL RETAINER (IF APPLICABLE)            $15,000.00       $
   TOTAL HOLDBACK (IF APPLICABLE)            $                $
   TOTAL RECEIVED BY APPLICANT               $15,000.00       $

       NAME OF               YEAR ADMITTED (OR    HOURS      RATE            FEE
    PROFESSIONAL &               YEARS OF
        TITLE                  PROFESSIONAL
                                 SERVICE)
    Steven D. Pertuz, Esq.          2001            133.6    $325.00       $43,420.50
                                                                               (this
                                                                            includes
                                                                            pre-filing
                                                                             services
                                                                            totalling
                                                                           $1,950.00
                                                                              which
                                                                           debtor has
                                                                          consented to
                                                                           and agreed
                                                                             to pay).
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          FEE TOTALS- PAGE 2                                   $43,420.50
          DISBURSEMENTS TOTALS-PAGE 3                          $ 2,263.00
          TOTAL FEE APPLICATION                                $45,483.50




                                       SECTION II
                                   SUMMARY OF SERVICES

   SERVICES RENDERED                                                 HOURS     FEE
   a)   Asset Analysis and Recovery                                    6.0     $1,950.00

   b)    Asset Disposition                                              11.0   $3,575.00

   c)    Business Operations                                            8.0    $2,600.00

   d)    Case Administration                                            15.0   $4,875.00

   e)    Claims Administration and Objections                           8.0    $2,600.00

   f)    Employee Benefits/Pensions

   g)    Fee/Employment Applications                                    3.0     $975.00

   h)    Fee/Employment Objections

   i)    Financing                                                      5.0    $1,625.00

   j)    Litigation (Other than Avoidance Action Litigation)

   k)    Avoidance Action Litigation

   l)    Meeting of Creditors & IDI Compliance                          10.5   $3,412.50

   m)    Plan and Disclosure Statement                                  15.0   $4,875.00

   n)    Relief from Stay Proceedings, Contested & Non Contested        6.0    $1,950.00
         Motions

   o)    Regulatory Compliance                                          2.0     $650.00

   p)    Travel                                                         1.0     $325.00
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   q)     Accounting/Auditing                                           7.0      $2,275.00

   r)      Business Analysis                                            10.0     $3,250.00

   s)      Corporate Finance and Valuation                              4.0      $1,300.00

   t)      Data Analysis                                                10       $3,250.00

   u)     Litigation Consulting                                         2.0       $650.00

   v)     Reconstruction Accounting                                     3.0       $975.00

   w)     Tax Issues                                                    7.1      $2,307.50

   x)      Other (specify category)

   SERVICES TOTAL:                                                     133.60    $43,420.00




                                        SECTION III
                                  SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                                AMOUNT
   a) Computer Assisted Legal Research

   b) Facsimile (with rates)
      No. of pages_______rate per page______ (Max. $1.00/page)
   c) Long Distance Telephone

   d) In-House Reproduction
       No. of Pages Rate per page (Max. .20 page)
   e) Outside Reproduction/Copy Charges
   f) Outside Research: Foundation Title Judgment/Lien Search for NJ            $325.00


   g) Filing/Court Fees                                                         $1,738.00

   h) Court Reporting

   i) Travel

   j)   Courier & Express Carriers (e.g. Federal Express)                       $100.00

   k) Postage                                                                   $100.00

   l) Other (Explain)
   DISBURSEMENTS TOTAL:                                                         $2,263.00
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                                          SECTION IV
                                        CASE HISTORY
           (NOTE: Items 3-6 are not applicable to applications under 11 U.S.C. §506)

   (1)     DATE CASE FILED: 10/06/22

   (2)     CHAPTER UNDER WHICH CASE WAS COMMENCED: CHAPTER 11, SUB V

   (3)     DATE OF RETENTION: ORDER GRANTING RETENTION WAS 10/28/22,
           EFFECTIVE DATE WAS 10/06/22.

   (4)     SUMMARIZE IN BRIEF THE BENEFITS TO THE ESTATE AND ATTACH
           SUPPLEMENTS AS NEEDED: SEE ANNEXED APPLICATION

   (5)     ANTICIPATED DISTRIBUTION TO CREDITORS:
           (A) ADMINISTRATION EXPENSES: 100%
           (B) SECURED CREDITORS: As allowed/negotiated claim.
           (C) PRIORITY CREDITORS: 100% with interest
           (D) GENERAL UNSECURED CREDITORS: Pro Rata

   (6)     FINAL DISPOSITION OF CASE AND PERCENTAGE OF DIVIDEND PAID TO
           CREDITORS (IF APPLICABLE): Debtor’s case was consolidated with the
           individual Debtor case of Alexandre J. Dacosta and Vivianne C. Antunes on
           February 7, 2022. A joint Plan of Reorganization was filed on January 4, 2023 and
           which has been amended pending a final Confirmation Hearing on September 12,
           2023. Final distributions to all creditors have not been determined to date. US
           Trustee’s office has filed a motion to convert or dismiss the within case which
           motion is returnable on September 26, 2023.


   I certify under penalty of perjury that the foregoing is true and correct.


                                                               /s/ Steven D. Pertuz
                                                                   Steven D. Pertuz, Esq.
   Date: 9/1/23
